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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 MARK ORTEGA, individually and on
 behalf of all others similarly situated,

       Plaintiff,
                                                    Case No. 5:24-cv-00801-OLG
 v.

 ENSURETY VENTURES, LLC, a
 Missouri Limited Liability Company,

       Defendant.


          NOTICE OF FILING AMENDED CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule CV-7 (g) and the Court’s Order entered on October 23, 2024, the

undersigned attorney certifies that counsel for Defendant Ensurety Ventures, LLC has conferred

with counsel for Plaintiff Mark Ortega in a good-faith effort to resolve the issues raised in

Defendant’s Partial Motion to Dismiss Plaintiff’s Complaint and Incorporated Memorandum of

Law [Dkt. No. 4] (“Defendant’s Motion”), however the parties were unable to reach a resolution

regarding Defendant’s Motion. On October 25, 2024, Plaintiff’s counsel confirmed that Plaintiff

opposes Defendant’s Motion.

       Dated: October 29th, 2024.            Respectfully submitted,

                                             By:     /s/ Eliot New
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                                                     Attorneys for Defendant Ensurety Ventures,
                                                     LLC

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                              CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on this 29th day of October, 2024, a copy of the foregoing
Notice of Filing Amended Certificate of Conference was filed with the Clerk of the Court using
the CM/ECF system which will send notification of such filing to all attorneys of record.

                                           By:    /s/ Eliot New
                                                  ELIOT NEW




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